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6    Additional Plaintiff’s Counsel Appear
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7

8                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
9                                  SAN FRANCISCO DIVISION
10

11                                                           Civil Action No. 3:20-cv-04238-WHO
       BRENT JACKSON, individually and on
       behalf of all others similarly situated,
12

13                   Plaintiff,                              PROOF OF SERVICE OF
14                                                           SUMMONS AND COMPLAINT
       v.
15
        ALTRIA GROUP, INC. and JUUL LABS,
16
        INC.,
17

18                   Defendants.

19

20

21

22    Dated: August 5, 2020                       Respectfully submitted,
23

24                                                /s/ Dennis Stewart
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                                  PROOF OF SERVICE OF SUMMONS AND COMPLAINT
     Case 3:20-cv-04238-WHO Document 9 Filed 08/05/20 Page 2 of 3



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                     PROOF OF SERVICE OF SUMMONS AND COMPLAINT
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